          Case: 23-2971       Document: 6      Page: 1       Date Filed: 11/09/2023

                                                                                  Page 1 of 2

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PATRICIA S. DODSZUWEIT           UNITED STATES COURT OF APPEALS                   TELEPHONE
                                          FOR THE THIRD CIRCUIT                  215-597-2995
         CLERK                      21400 UNITED STATES COURTHOUSE
                                           601 MARKET STREET
                                       PHILADELPHIA, PA 19106-1790
                                    Website: www.ca3.uscourts.gov

                                         November 9, 2023



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RE: In re: LTL Management LLC
Case Number: 23-2971
District Court Case Number: 23-bk-12825
District Court Case Number: 3-23-cv-10979


Dear Counsel:
The above-entitled case has been listed at the convenience to the Court and will be
scheduled after briefing has been completed.
At the time that the Court schedules a disposition date, the panel will determine whether
there will be oral argument and if so, the amount of time allocated for each side. (See
Third Circuit Internal Operating Procedures, Chapter 2.1.) Approximately 18 calendar
days prior to the disposition date you will be advised whether oral argument will be
required, the amount of time allocated by the panel, and the specific date on which
argument will be scheduled.
          Case: 23-2971   Document: 6   Page: 2   Date Filed: 11/09/2023

                                                                       Page 2 of 2


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Very truly yours,



PATRICIA S. DODSZUWEIT
Clerk

By:



Ashley Ritz
Calendar Clerk
267-299-4947
